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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

vs.                                     Criminal No. 20-CR-10263-PBS

JIM BAUGH, et al.,                      HEARING SCHEDULED FOR:
                                        January 28, 2022
      Defendants.



  MEMORANDUM IN SUPPORT OF INTERVENOR EBAY INC.’S MOTION TO
QUASH RULE 17(C) SUBPOENAS ISSUED TO EBAY INC. AND MORGAN, LEWIS &
                           BOCKIUS LLP




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                                       INTRODUCTION

       Defendant Jim Baugh, the former head of security for eBay Inc., faces nine criminal

charges arising from allegations that he conspired to stalk, harass, and intimidate a

Massachusetts couple who run an ecommerce newsletter that reports on eBay and then tried to

cover his tracks by misleading investigators and destroying evidence. On October 1, 2021,

Baugh issued a subpoena to eBay with six separate document requests, including several that

explicitly seek privileged communications and records involving eBay’s in-house and outside

counsel. Baugh issued a similar subpoena directly to eBay’s outside counsel, Morgan, Lewis &

Bockius LLP (“Morgan Lewis”). During an extensive meet and confer process, eBay and

Morgan Lewis produced privilege logs demonstrating that the vast majority of documents

responsive to Baugh’s subpoenas are privileged and/or protected from disclosure under the work

product doctrine.1 Although the parties were able to reach agreement regarding two requests,

four requests remain outstanding (the “Outstanding Requests”). eBay and Morgan Lewis have

attempted to reach a reasonable compromise over the Outstanding Requests, but Baugh has

rejected those efforts. eBay now seeks to quash the Outstanding Requests on two basic grounds.2

       First, the documents Baugh seeks in the Outstanding Requests consist predominantly of

privileged materials regarding eBay’s and Morgan Lewis’s investigations of the alleged

harassment conspiracy, including privileged materials communicated to the eBay Board. During

the meet and confer process, Baugh has not contested the fact that the documents are privileged.



1
 Unless otherwise noted, this memorandum refers to the attorney-client privilege and work
product doctrine collectively as the “privilege,” and refers to materials protected by both these
doctrines as “privileged” materials.
2
  eBay seeks to quash Baugh’s subpoenas to both eBay and Morgan Lewis. Morgan Lewis is also
filing a separate motion to quash the subpoena it received, which incorporates by reference the
arguments set forth in this memorandum that are applicable to that subpoena.

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Indeed, during the now several weeks of discussions, he has not at any time challenged the

assertions of privilege as to any of the documents listed on the privilege logs. Instead, Baugh has

taken the position that eBay’s privilege must yield entirely to his client’s constitutional trial

rights. He has also suggested, albeit with little or no specificity, that eBay somehow waived its

privilege when it provided certain information it had gathered during its internal investigation to

the government. As discussed in more detail below, Baugh is wrong on both counts. The

Supreme Court’s decision in Swidler & Berlin v. United States, 524 U.S. 399 (1998), forecloses

Baugh’s constitutional argument, and eBay’s cooperation with the government by providing

factual information derived from its own internal investigation did not trigger any subject matter

waiver, let alone the unbounded waiver of privilege Baugh now appears to assert.

       Second, the Outstanding Requests run afoul of United States v. Nixon, 418 U.S. 683

(1974). As discussed in more detail below, Nixon and its progeny expressly limit the range of

documents appropriately requested under Rule 17(c), which is not a general rule of discovery.

Instead, Rule 17(c) permits subpoenas only under circumstances in which the defendant can

make the required showings of specificity, relevance, and admissibility. At no time during the

multiple meet and confer sessions has Baugh articulated any bases for the Outstanding Requests

that meet the Nixon standard. Rather, Baugh’s basis for pursuing the Outstanding Requests is the

mere hope—common to all fishing expeditions—that the subpoenaed documents might turn up

something helpful. Such a position is simply insufficient under Nixon and provides no basis for

compelling eBay or Morgan Lewis to produce the documents that currently remain in dispute.

                                         BACKGROUND

       A.      The Pending Charges

       On November 3, 2020, a grand jury indicted Baugh for conspiracy to commit stalking

through travel and facilities of interstate commerce, in violation of 18 U.S.C. § 371 (Count I);

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stalking through interstate travel, in violation of 18 U.S.C. §§ 2261A(1)(B) and 2 (Counts II and

III); stalking through facilities of interstate commerce, in violation of 18 U.S.C. §§ 2261A(2)(B)

and 2 (Counts VI and VII); witness tampering, in violation of 18 U.S.C. §§ 1512(b)(3) and 2

(Counts X and XI); and destruction, alteration, and falsification of records in a federal

investigation, in violation of 18 U.S.C. §§ 1519 and 2 (Counts XIII and XIV). See Dkt. 33.

       As alleged in the indictment, the charges against Baugh arise from events that took place

from approximately August 5, 2019 to approximately September 6, 2019. See id. ¶ 11. During

that month, Baugh and six subordinates at eBay allegedly stalked, harassed, and intimidated Ina

and David Steiner, a married couple residing in Natick, Massachusetts who run an ecommerce

newsletter, EcommerceBytes, that had published articles critical of eBay. See id. ¶¶ 8-11.3 The

alleged purposes of the harassment campaign “were … to distract the Victims from publishing

the Newsletter, to alter the Newsletter’s coverage of eBay, and to gather information that

[Baugh] and [his] co-conspirators could use to discredit the Victims and the Newsletter.” Id.

¶ 12. Counts X, XI, XII, and XIV arise from allegations that, once Baugh learned that the Natick

police and eBay were investigating his team’s conduct, he attempted to mislead them about the

team’s actions and to destroy evidence. See id. ¶ 13. Count XI, in particular, charges Baugh with

lying to an eBay investigator in late-August 2019 about his and his team’s involvement in the

Natick events. See id. ¶¶ 16.jjj, 28. That investigator has since been identified as Amir Vonsover,

an in-house lawyer at eBay who interviewed Baugh and others as part of eBay’s internal

investigation into the Natick events. See Tr. of 10/1/2021 Hr’g at 11:3-15.


3
  The six subordinates are David Harville (Baugh’s co-defendant here), Stephanie Popp, Stephanie
Stockwell, Veronica Zea, Brian Gilbert, and Philip Cooke. See Dkt. 33 ¶¶ 2-7. Popp, Stockwell,
Zea, Gilbert, and Cooke all have pled guilty to conspiracy charges arising from their participation
in the harassment campaign and subsequent cover-up. See United States v. Gilbert et al., No. 1:20-
cr-10098 (D. Mass.); United States v. Cooke, No. 1:20-cr-10126 (D. Mass.).

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        B.      eBay’s Investigation and Cooperation with the Government

        Members of eBay’s compliance and legal team, including Mr. Vonsover, first learned of

the alleged harassment of the Steiners on or about August 20, 2019, when the Natick Police,

which was investigating the harassment, contacted eBay for assistance. On that day, Mr.

Vonsover assumed principal responsibility within eBay to investigate the Natick events.

        Within days of the call from the Natick Police, Mr. Vonsover, along with eBay paralegal

Shannon Macauley, interviewed several eBay and eBay-associated personnel about the

harassment campaign. Declaration of Andrew C. Phelan (“Phelan Decl.”) ¶¶ 7-8. In addition to

Baugh, Mr. Vonsover interviewed Baugh’s co-defendant, David Harville. See id. ¶¶ 8, 15; Dkt.

33 ¶ 16.iii-kkk, mmm. He also interviewed other individuals who have since been charged and

pled guilty to various crimes related to the harassment of the Steiners, including Brian Gilbert,

Stephanie Popp, Stephanie Stockwell and Veronica Zea, see Phelan Decl. ¶¶ 8, 15, as well as

Steven Wymer, eBay’s then-Chief Communications Officer, who has not been charged, id. ¶ 8.

        Approximately a week after the Natick police contacted eBay, on or about August 28,

2019, eBay retained Morgan Lewis as outside counsel to conduct a further investigation. Phelan

Decl. ¶ 3. Andrew Phelan, then a partner at Morgan Lewis, led those efforts. Id. ¶ 5. The purpose

of Morgan Lewis’s investigation was to collect relevant facts regarding the alleged harassment of

the Steiners in order to provide legal advice to eBay. Id. ¶ 6. Documents and communications

created during the course of the investigation were prepared not only to provide legal advice, but

also in anticipation of potential litigation. Id.

        During its investigation, Morgan Lewis worked in close coordination with eBay’s in-

house legal team, including Mr. Vonsover. Id. ¶ 7. As part of the investigation, Morgan Lewis

collected relevant documents and conducted interviews of individuals at eBay. Id. ¶ 9. Morgan

Lewis also reviewed information that Mr. Vonsover had collected as part of eBay’s initial
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investigation. Id. eBay’s and Morgan Lewis’s investigations were intended to be subject in their

entirety to eBay’s attorney-client privilege, and documents created in the course of the

investigations were intended to be subject to work product protection. Id. ¶ 10.

       In parallel with its investigation, eBay immediately began cooperating with law

enforcement, including the FBI and U.S. Attorney’s Office for the District of Massachusetts (the

“government”). Beginning in September 2019 and continuing through the present, Mr. Phelan

has served as eBay’s lead outside counsel in communicating with the government.4 Id. ¶ 11.

Consistent with eBay’s full cooperation in the matter, Mr. Phelan has provided to the

government factual information that eBay had learned during the course of eBay’s and Morgan

Lewis’s investigations. Id. ¶ 12. He has also provided information in response to specific

requests the government made of eBay. Id. ¶ 11.

       The information Mr. Phelan has provided includes documents collected during the

investigations, such as emails and text messages by and among Baugh, Harville, and other eBay

personnel. Id. ¶ 12. He has also provided information showing that certain individuals, including

Baugh, destroyed or otherwise deleted evidence of their harassment of the Steiners and of their

communications and activities at and around the time the harassment occurred. Id. In total, eBay

has produced over 14,000 pages of records to the government. See Dkt. 88 at 4.

       Mr. Phelan also informed the government of statements Baugh, Harville, and Wymer

made to Mr. Vonsover during eBay’s initial investigation in August 2019. Phelan Decl. ¶ 13. Mr.

Phelan did not provide copies of any memoranda or notes of those interviews. Id. Rather, on or

about October 13 and 16, 2020, Mr. Phelan provided oral reports of the statements given to Mr.



4
  Mr. Phelan left Morgan Lewis in January 2020 but has continued to have primary responsibility
for the investigation and to serve as eBay’s principal contact with the government.

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Vonsover. Id. Mr. Phelan did not discuss with the government the substance of any other

interviews conducted during the investigations. Id.

       With regard to Baugh, Mr. Phelan reported to the government the fact that Baugh’s

attorney had told Mr. Phelan in early September 2019 that Baugh had lied to Mr. Vonsover. Id.

¶ 14. Mr. Phelan further reported that Baugh’s attorney had added that Baugh had confirmed for

the attorney that Devin Wenig, eBay’s CEO at the time of the harassment campaign, had never

told Baugh to do anything illegal or improper with regard to the Steiners. Id.

       All information that Mr. Phelan provided to the government was subject to the express

understanding that eBay was not waiving any applicable privilege. Id. ¶ 17. The prosecutors

responsible for the government’s investigation stated to Mr. Phelan multiple times that they were

seeking only non-privileged facts regarding the harassment of the Steiners. Id. Those same

attorneys further stated that the government was not asking eBay to waive privilege. Id.

       On February 23, 2021, eBay made Mr. Vonsover available to the government for an

interview via Zoom. Id. ¶ 15. Mr. Phelan also attended. Id. At the outset of the interview, the

government made clear that it was not asking Mr. Vonsover or eBay to waive privilege and that

it was not seeking information subject to those protections. Id. During the interview, Mr.

Vonsover related statements that Baugh and Harville had made to him during the investigation in

August 2019, as well as some statements made in telephonic interviews of other members of

Baugh’s team on the same days as the Harville and Baugh interviews. Id. These included

statements by Brian Gilbert, Scott Fitzgerald (not charged), Stephanie Popp, Veronica Zea, and

Stephanie Stockwell. Id. The government did not ask about the statements made by these other

individuals in any detail; by that point in time, all the eBay employees who had been criminally

charged in connection with the harassment of the Steiners had pleaded guilty, except for Baugh



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and Harville, so the focus of the interview was on them and the accounts they gave of the events

involving the Steiners, including efforts to cover up those events. Id. The government did not ask

about any statements by Wenig, Wymer, or Wendy Jones (Baugh’s direct supervisor). Id.

        Mr. Phelan and Morgan Lewis did not prepare any “final report” of the investigation for

eBay. Id. ¶ 18. Mr. Phelan made oral reports to the company without any handouts, PowerPoints

or other writings, and in certain instances prepared one- or two-page updates for the company on

the current status of the matter. Id.

        C.      The Rule 17 Subpoena

        On August 24, 2021, Baugh moved under Federal Rule of Criminal Procedure 17(c) to

issue document subpoenas to eBay and Morgan Lewis. Dkt. 79. The eBay subpoena

(“Subpoena”) seeks the following categories of documents:

        (1) Final report(s) from the eBay and/or Morgan Lewis internal investigation(s) of
        Baugh and/or activities by Baugh and/or other eBay officers, employees, or
        agents in relation to EcommerceBytes and/or David and/or Ina Steiner;

        (2) Presentation(s) concerning Baugh and/or activities by Baugh and/or other
        eBay officers, employees, or agents in relation to EcommerceBytes and/or David
        and/or Ina Steiner made by eBay employees, in-house counsel, or Morgan Lewis
        to the Audit Committee or the Board (along with the supporting materials that
        eBay employees, in-house counsel, or Morgan Lewis provided and any minutes of
        those meetings);

        (3) Memoranda, recordings, and notes of interviews with Baugh conducted by
        eBay employees, in-house counsel, or Morgan Lewis;

        (4) Memoranda, recordings, and notes of interviews with individuals who spoke
        to eBay employees, in-house counsel, or Morgan Lewis about Baugh and/or
        activities by Baugh and/or other eBay officers, employees, or agents in relation to
        EcommerceBytes and/or David and/or Ina Steiner;

        (5) Forensic analyses of alleged falsification or destruction of evidence by Baugh
        and/or other eBay employees or contractors;

        (6) Communications from 2017 through 2019 between or among any of Devin
        Wenig, Cyndy [sic] Lam, Scott Schenkel, Steve Wymer, Wendy Jones, Marie


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        Huber, Molly Finn, Amir Vonsover, Aaron Johnson, Russell Phimister, and/or
        Baugh concerning any of the following:
               EcommerceBytes
               David Steiner
               Ina Steiner
               @FidoMaster1 Twitter account
               @unsuckebay Twitter account
               Elliott Management
               Jessie [sic] Cohn

Declaration of Jack W. Pirozzolo (“Pirozzolo Decl.”) Ex. 1.5 The Morgan Lewis subpoena

includes the first five requests but not the sixth. Id. Ex. 2.

        On August 27, 2021, Magistrate Judge Bowler denied Baugh’s motion for failing to

comply with the standards for Rule 17(c) subpoenas set by the Supreme Court in Nixon. Dkt. 81.

On October 1, this Court reversed that order and allowed the subpoenas to issue. See Dkt. 108. In

doing so, the Court anticipated that eBay and Morgan Lewis would challenge the subpoenas on

privilege and Nixon grounds, and set a briefing schedule for motions to quash. See id. Baugh

issued his subpoenas to eBay and Morgan Lewis that afternoon. See Pirozzolo Decl. Exs 1-2.

        Since then, the parties have conferred multiple times to narrow areas of disagreement.

See id. Exs. 3-5, 17. With respect to timeframes for the requests, the parties agreed to limit the

scope of Request 2 and 4 to records from 2019, and Request 6 to communications from January

to September 2019.6 To narrow the areas of disagreement, the parties also agreed that eBay and


5
  With respect to Request 6, during the designated timeframe: Wenig was eBay’s CEO; Lam was
Wenig’s chief of staff; Schenkel was eBay’s chief financial officer (and, after Wenig’s resignation
in September 2019, interim CEO); Wymer was eBay’s chief communications officer; Jones was
eBay’s Senior Vice President for Global Operations; Huber was eBay’s general counsel; Finn was
eBay’s chief compliance officer; Johnson was eBay’s head of litigation; Phimister was eBay’s
Senior Director & Head of Global Workplace Resources; Elliott Management, a hedge fund, was
an investor in eBay; and Cohn was a partner at Elliott Management and member of eBay’s Board.
6
 eBay does not concede that these timeframes, which are considerably longer than the one-
month duration of the events underlying Baugh’s charges, are appropriate for any of the requests.
See Dkt. 33 ¶ 11 (charging Baugh with a conspiracy “beginning on or about August 5, 2019 and
continuing through at least September 6, 2019”).

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Morgan Lewis would produce privilege logs of potentially responsive documents. Pursuant to

that agreement, eBay and Morgan Lewis undertook the substantial burden, involving hundreds of

attorney hours, of collecting, searching, and reviewing potentially responsive documents for

privilege. On November 8, November 15, and December 16, eBay produced three privilege logs

reflecting entries for 661 documents that are potentially responsive to the Subpoena’s requests.

See id. Exs. 6-9, 18-19. On November 8 and December 16, Morgan Lewis produced two

privilege logs reflecting entries for 96 documents identified as potentially responsive to its

subpoena. See id. Ex. 10-11, 20-21.

       Through subsequent meet-and-confers, the parties have been able to reach agreement

regarding Requests 3 and 5. The parties have not been able to reach agreement on Requests 1, 2,

4, and 6—the Outstanding Requests. The disputes over those requests are as follows:

                 Request 1 (Final Reports): eBay has offered to provide a March 2021
                  PowerPoint presentation given by Mr. Phelan to the government that
                  described the results of eBay’s and Morgan Lewis’s investigations, but
                  will not provide two documents identified on eBay’s November 8, 2021
                  privilege log at Log00001 and Log00002 because they are privileged,
                  work product, and not appropriately sought under Nixon. Baugh has
                  demanded production of those documents insofar as they report
                  “findings of fact.” Morgan Lewis has not identified any documents in
                  its possession, custody, or control responsive to Request 1.

                 Request 2 (Board minutes and materials): eBay has offered to
                  provide certain non-privileged Board minutes from 2019 (without
                  conceding they are appropriately sought under Nixon). Although
                  agreeing to limit the request to 2019, Baugh has rejected any further
                  limit and continues to demand privileged Board minutes and a host of
                  privileged materials provided to the Board.

                 Request 4 (interviews): eBay and Morgan Lewis have offered to
                  provide memoranda and notes of those interviews that contain
                  statements of interviewees that Mr. Vonsover and Mr. Phelan discussed
                  with the government. Baugh has demanded all interview notes and
                  memoranda for all individuals interviewed in 2019 by eBay in-house
                  counsel and Morgan Lewis.


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                  Request 6 (emails by and among specific individuals): eBay has
                   offered to consider proposals to narrow the scope of this request, but
                   Baugh has not suggested any and has not agreed to limit the request
                   beyond limiting the time frame to January 2019 through September
                   2019. Baugh has also demanded all responsive privileged emails.

                                           ARGUMENT

I.     The Requested Documents Are Protected from Discovery by the Attorney-Client
       Privilege and Work Product Doctrine

       The Court should quash the Outstanding Requests because they predominantly seek

documents protected by privilege. The Outstanding Requests on their face seek privileged

documents involving eBay’s in-house and outside counsel, and as Baugh’s rejection of eBay’s

offer to produce certain non-privileged 2019 Board minutes and continued demand for privileged

Board records make clear, see supra at 9, Baugh seeks highly sensitive, confidential

communications and documents. This Court should reject this unfounded effort to invade eBay’s

privilege and quash the Outstanding Requests insofar as they seek privileged materials.

       A.        The Requested Documents Are Privileged and Work Product Protected

       Virtually all the documents Baugh seeks in the Outstanding Requests are privileged.

eBay has produced three detailed privilege logs describing 661 potentially responsive

documents, with twelve informational fields identifying for each document, as applicable, the

author, sender, recipients, who is a lawyer, the email subject or document file name, the

subpoena request(s) to which the document responds, the privilege basis, and the specific reasons

each documents falls within the scope of the attorney-client privilege and/or work product

doctrine. See Pirozzolo Decl. Exs. 7, 9, 19. Morgan Lewis has produced two similarly detailed

privilege logs describing 96 potentially responsive documents. See id. Exs. 11, 21. These logs

demonstrate that the listed documents satisfy the elements of attorney-client privilege, work

product doctrine, or both. See, e.g., Bacchi v. Mass. Mut. Life Ins. Co., 110 F. Supp. 3d 278, 282


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(D. Mass. 2015) (“Generally, a privilege claim is made by serving a privilege log that separately

lists each document, specifies who created the document and all recipients, and concisely states

the basis for the claim of privilege.”); Golden Trade, S.r.L. v. Lee Apparel Co., 1992 WL

367070, at *5 (S.D.N.Y. Nov. 20, 1992) (explaining that “sufficiently detailed privilege logs”

establish the basis of a privilege claim, “particularly in cases involving large quantities of

disputed documents”). Indeed, Baugh has never disputed that the logged documents satisfy these

elements, and throughout the parties’ meet-and-confer process has never objected to any

particular privilege designations.

       Instead, Baugh contends that he is entitled to these documents based on two general

assertions. First, he claims that he has a constitutional right to the documents that outweighs

eBay’s privilege. See Dkt. 79 at 9-10. Second, he claims that eBay supposedly waived privilege

as to the disputed documents when eBay, through counsel, disclosed certain documents and

information to the government during the course of the government’s investigation. See id. at 8-

9. Neither argument is correct.

       B.      Supreme Court Precedent Forecloses Baugh’s Constitutional Claim

       Supreme Court precedent forecloses Baugh’s argument that his “constitutional rights to a

fair trial trump any common-law interest that [eBay] may have in the confidentiality of [its]

internal investigation.” Dkt. 79 at 8. In Swidler, the Supreme Court held that “there is no case

authority for the proposition that the privilege applies differently in criminal and civil cases.”

524 U.S. at 408-09. The Court also “rejected use of a balancing test in defining the contours of

the [attorney-client] privilege,” reasoning that “[b]alancing ex post the importance of the

information against client interests, even limited to criminal cases, introduces substantial

uncertainty into the privilege’s application.” Id. at 409; see also Upjohn Co. v. United States, 449

U.S. 383, 393 (1981) (explaining that “some degree of certainty whether particular discussions
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will be protected” is essential to the attorney-client privilege and that “[a]n uncertain privilege,

or one which purports to be certain but results in widely varying applications by the courts, is

little better than no privilege at all”); SEC v. Present, 2015 WL 9294164, at *2 (D. Mass. Dec.

21, 2015) (rejecting the use of a balancing test in weighing interests as to privileged

communications). Baugh’s argument here is simply a bid to allow what Swidler forbids. It would

apply the privilege “differently in criminal and civil cases” and would, in criminal cases, define

the “contours of the privilege” by “[b]alancing ex post” a defendant’s Sixth Amendment rights

“against client interests.” Swidler, 524 U.S. at 408-09. Accordingly, this Court should reject

Baugh’s argument that his constitutional trial right overcomes eBay’s privileges.

       C.      eBay’s Disclosures Did Not Waive Privilege Over the Documents in the
               Outstanding Requests

       eBay’s disclosures to the government did not trigger any subject matter waiver, let alone

one broad enough to reach the documents sought in the Outstanding Requests. This question is

governed by Federal Rule of Evidence 502(a), under which disclosure of privileged materials

waives privilege over undisclosed communications or information only if “(1) the waiver is

intentional; (2) the disclosed and undisclosed communications or information concern the same

subject matter; and (3) they ought in fairness to be considered together.” Fed. R. Evid. 502(a).

Rule 502(a) makes subject matter waivers the exception, not the rule. It limits them to “those

unusual situations” in which “a party intentionally puts protected information into the litigation

in a selective, misleading and unfair manner.”7 Fed. R. Evid. 502(a) advisory committee’s note.


7
  Case law interpreting Federal Rule of Evidence 106—from which Rule 502(a)’s “ought in
fairness” standard derives, see Fed. R. Evid. 502(a) advisory committee’s note—confirms this
limitation. Rule 106 provides that “[i]f a party introduces all or part of a writing or recorded
statement, an adverse party may require the introduction, at that time, of any other part—or any
other writing or recorded statement—that in fairness ought to be considered at the same time.”
Fed. R. Evid. 106. The First Circuit has interpreted this rule to apply only “to prevent the jury
from being misled by reading or hearing a statement ‘out of context.’” United States v. Altvater,
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       Here, although Baugh has for months possessed all of the documents eBay produced to

the government, he has never proffered any basis for believing eBay’s disclosures to the

government were “selective, misleading [or] unfair.” Id. His failure to do so reflects the reality

that eBay’s disclosures fairly and accurately depicted the conduct that led to Baugh’s charges.

Accordingly, fairness does not require disclosure of any privileged, undisclosed materials sought

by the Outstanding Requests.

       The district court’s decision in United States v. Treacy, 2009 WL 812033 (S.D.N.Y. Mar.

24, 2009), is instructive on how the principles of Rule 502(a) apply here. In Treacy, as here, a

defendant sought production of privileged interview memoranda from a company’s internal

investigation, arguing that the company’s lawyers at Akin Gump waived privilege either “by

furnishing certain other interview memoranda to the Government that related to the same subject

matter” or “by making oral presentations to the Government of certain statements made by some

of these witnesses, as well as, more generally, its overall findings.” Id. at *1. The court, however,

quashed this request. Although it required Akin Gump to produce the interview memorandum of

the witness about whose interview Akin Gump had given “detailed oral recitations to the

Government,” id., the court explained that “no comparable disclosure was made to the

Government with respect to the interviews or interview memoranda now here sought,” id. “In

analogous situations,” the court went on, “courts have routinely declined to find that waiver has

occurred.” Id. (citing cases). The court further emphasized that the defendant had “failed to point

to any authority (controlling or otherwise) that stands for the broad proposition that the

disclosure of a handful of interview memoranda to the Government automatically results in a



954 F.3d 45, 49 (1st Cir. 2020). Thus, a party invoking the rule must show how admitting only
part of a document would “create[] a misunderstanding or distortion that could only be averted
by the introduction of the full text of the out-of-court statement.” Id. at 49-50 (cleaned up).

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general waiver of privilege and work product protection over different memoranda that were not

provided to the Government.” Id. Finally, the court explained that Akin Gump’s disclosures did

not trigger fairness concerns because “the holder of the privilege is not a party to the action,”

“neither the Government nor defendant is in possession of the interview memoranda here

sought,” id. at *2, and “there is no suggestion of ‘selective’ or ‘misleading’ conduct,” id.

(quoting Fed. R. Evid. 502(a) advisory committee’s note).

       All the same reasoning applies here. As in Treacy, to cooperate with the government’s

investigation of criminal conduct involving its employees, eBay gave oral presentations to the

government regarding the statements that certain individuals, most notably Baugh himself, made

to eBay during the investigation. Phelan Decl. ¶¶ 13-15 . And eBay and Morgan Lewis have

offered to produce notes and memoranda of those interviews that contain statements that Mr.

Vonsover and Mr. Phelan orally disclosed in significant part to the government. See Pirozzolo

Decl. Ex. 17. At the same time, as in Treacy, there is no basis for finding waiver as to materials

that were not disclosed. eBay and Morgan Lewis did not disclose, and were not asked to

disclose, all witness statements. Moreover, eBay and Morgan Lewis are not parties to this action,

neither the government nor Baugh possesses the materials sought in the Outstanding Requests,

and there is no suggestion—let alone colorable suggestion—of selective or misleading conduct.

This Court should therefore follow Treacy and quash the Outstanding Requests.

       Indeed, the grounds for quashing are even stronger here than in Treacy because Baugh’s

requests seek categories of documents far afield from anything ever disclosed to the government.

In Request 1, Baugh seeks two documents from September 2020, more than a year after the

alleged conspiracy ended, and in Request 2, Baugh seeks a host of privileged communications

and materials involving eBay’s Board. Yet at no point, ever, did Mr. Phelan, Morgan Lewis, or



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eBay relay to the government the September 2020 documents or any privileged communications

outside or in-house counsel had with the eBay Board regarding the investigations. See Phelan

Decl. ¶ 18. Given that there was no disclosure of Board communications, Baugh cannot validly

claim that there was a “selective” disclosure of those communications triggering a waiver.

       The fact that the documents Baugh seeks are irrelevant to establishing his guilt or

innocence weighs further against requiring any broader disclosure. The fairness requirement of

Rule 502(a) is concerned with preventing parties from using privilege to make a “selective and

misleading presentation of evidence to the disadvantage of the adversary.” Fed. R. Evid. 502

advisory committee’s note (emphasis added). The only documents that could, even in theory,

disadvantage Baugh are ones relevant to his charges. Cf. Mass. Mut. Life Ins. Co. v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 293 F.R.D. 244, 253 (D. Mass. 2013) (concluding that

fairness did not require the disclosure of additional documents because the plaintiff did not need

those documents to prove its claims and had eschewed their use as evidence at trial); In re

Seagate Tech., LLC, 497 F.3d 1360, 1374 (Fed. Cir. 2007) (en banc) (“Because willful

infringement in the main must find its basis in prelitigation conduct, communications of trial

counsel have little, if any, relevance warranting their disclosure, and this further supports

generally shielding trial counsel from the waiver stemming from an advice of counsel defense to

willfulness.”), abrogated on other grounds by Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct.

1923 (2016). Thus, because the documents Baugh seeks have no bearing on his guilt or

innocence, eBay’s decision to maintain privilege cannot disadvantage him.

II.    The Outstanding Requests Do Not Meet the Nixon Standard

       Separate and apart from the fact that the Outstanding Requests seek privileged

information, the Outstanding Requests also seek general discovery of the sort forbidden under

the Federal Rules of Criminal Procedure. As discussed in more detail below with respect to each
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of the Outstanding Requests, Baugh falls well short of what he is required to show in order to

subpoena the documents under Rule 17.

       A.      Relevant Legal Standard

       Under Rule 17(c), the “defense may use subpoenas before trial to secure admissible

evidence but not as a general discovery device.” United States v. Henry, 482 F.3d 27, 30 (1st

Cir. 2007) (emphasis added). The proponent of a subpoena under Rule 17 has the burden of

establishing that the requested materials satisfy three criteria: (1) relevancy; (2) admissibility;

and (3) specificity. Nixon, 418 U.S. at 700. Courts police these factors carefully, lest Rule 17(c)

subpoenas “undercut[] the strict limitation of discovery in criminal cases found in Fed. R. Crim.

P. 16.” United States v. Cuthbertson, 630 F.2d 139, 145-46 (3d Cir. 1980).

       In this context, consistent with the rule that Rule 17 is not a discovery device,

“relevance” requires something more than “potential” relevance. United States v. Shinderman,

232 F.R.D. 147, 152 (D. Me. 2005) (“It is not enough that the documents have some potential of

relevance and evidentiary use. There must be a sufficient likelihood that the requested material is

relevant to the offenses charged in the indictment ….” (cleaned up)).8 Similarly, a “sufficient

preliminary showing” regarding admissibility, Nixon, 418 U.S. at 700, requires identifying

particularized grounds for admitting specific documents that amount to more than speculation

about “potential[]” grounds for admissibility, United States v. RW Pro. Leasing Servs. Corp., 228

F.R.D. 158, 162 (E.D.N.Y. 2005). Finally, “specificity” requires the proponent of the subpoena

to identify what the documents actually will show. Shinderman, 232 F.R.D. at 152. Baugh must

“show more than a ‘mere hope’ that something of value might turn up in the documents,” Gikas,


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  See also United States v. Gikas, 112 F.R.D. 198, 201 (D. Mass. 1986) (explaining that a Rule
17(c) subpoena proponent must “present some facts demonstrating that the materials sought are
relevant and of evidentiary value to a defense against the allegations” in the indictment).

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112 F.R.D. at 201, and must offer more than “conjecture about what such … document[s] might

contain,” United States v. Stevenson, 727 F.3d 826, 832 (8th Cir. 2013). Baugh cannot meet these

requirements.

       B.       The Outstanding Requests

                1.    Request 1: Final Reports

       Baugh has never articulated how the request for “final reports” from Morgan Lewis

and/or eBay satisfies Nixon. In any event, because eBay has offered to provide the presentation

Mr. Phelan provided to the government in March 2021, see supra at 9, only two documents are

now at issue in this request. As discussed above, the documents are privileged, but even if the

Court does not agree that they are protected from disclosure as privileged, they are not properly

subject to production under Nixon. The documents date from September 2020, more than a year

after the alleged conspiracy ended. They fail the admissibility requirement largely because

Baugh has identified only highly speculative grounds for their admission. They fail the relevance

requirement because Baugh cannot show that anything in them would provide him with a

defense in this criminal case. Baugh has suggested (falsely) that the documents show that he was

acting at the behest of eBay senior executives, see Dkt. 84 at 8, but even assuming there were

any basis for such a suggestion, the documents would not provide Baugh with a defense.

Baugh’s guilt or innocence of the charges does not in any way depend on the conduct of other

eBay employees. See United States v. Rogers, 2012 WL 2273939, at *1 (E.D. Mich. June 18,

2012) (“The mere fact that others may have been involved in wrongdoing does not preclude

Defendant’s involvement; the fact remains that Defendant is the one charged in this case, and

exculpatory evidence he seeks to introduce must be relevant to his guilt or innocence, not that of

others.”). Finally, they fail the specificity requirement because Baugh has not, and cannot,



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articulate anything specific that the documents contain beyond a “mere hope” that there might be

something helpful in them. Gikas, 112 F.R.D. at 201.

               2.     Request 2: Board Communications

       Although Request 2 encompasses more disputed documents than Request 1, the analysis

is essentially the same as with Request 1. Baugh has identified no basis for admitting the

requested Board materials and communications in this matter, and none exists. The materials are

not relevant in the sense that Nixon and its progeny have construed the term because none of the

requested materials will negate Baugh’s guilt or innocence with regard to the crimes charged.

And as with Request 1, Request 2 is not sufficiently specific because Baugh does not and cannot

articulate anything but a “hope” that there might be something in them that is helpful.

               3.     Request 4: Interview Memoranda

       At this point, Baugh is, in effect, seeking the entire file of eBay’s 2019 interviews from

its investigation—a file comprising interviews with 15 individuals, many of whom had no

involvement at all in the harassment campaign. See Pirozzolo Decl. Exs. 7, 9, 11, 19, 21. Again,

despite the overbroad nature of this request, eBay and Morgan Lewis have offered to produce

memoranda and interview notes from Vonsover’s interviews with Baugh, his co-conspirators,

and Wymer. Baugh, however, continues to also seek notes and memoranda from interviews with

all other individuals, including Wenig (eBay’s former CEO) and Jones (eBay’s Senior Vice

President of Global Operations) apparently based on the premise that they approved and directed

his conduct, see Dkt. 84 at 8—a premise Baugh’s own attorney admitted is false. See Phelan

Decl. ¶ 14.

       It is no surprise then that Baugh cannot show with specificity any information in those

interviews that he should be entitled to subpoena. Baugh’s claim for the interview memoranda

and notes rests only on the “hope” that something in them may help him. But that is plainly

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insufficient under Nixon. Baugh also cannot make the required showing that the interview notes

or memoranda are admissible. As with the reports requested in Request 1, Baugh only theorizes

about how such materials, in general, may be admissible, not how the notes at issue here could

actually enter into evidence. See Dkt. 84 at 8-9. As discussed above, such speculation about

theoretical paths to admissibility is not sufficient under Nixon. See RW Pro., 228 F.R.D. at 162.

               4.      Request 6: Emails from January through September 2019

       Finally, Baugh has agreed to limit Request 6 to communications from January-September

2019, but has otherwise resisted narrowing Request 6 further by time period or by subject matter.

Baugh seeks all communications regarding seven topics over nine months among eleven eBay

employees, including eBay’s former CEO, current general counsel, current chief compliance

officer, and several other attorneys. This request does not come close to satisfying Nixon.

       As with the other requests, the documents sought in Request 6—internal email

communications by and among non-party eBay employees—are clearly inadmissible, and Baugh

offers no reason to conclude otherwise. See Dkt. 79, 84. The absence of any identifiable grounds

for admissibility of the documents sought in Request 6 reflects the shotgun, non-specific nature

of the request. Baugh cannot explain why the requested documents will be admissible because he

does not actually know what information most of the documents contain. If Baugh knew who

said what, to whom, and under what circumstances, he could at least proffer some reason the

documents would be admissible at trial. Instead, Baugh’s failure to specify “what information is

contained in the documents” means he cannot clear the “specificity hurdle” separating a

permissible Rule 17(c) subpoena from a forbidden general discovery device. Shinderman, 232

F.R.D. at 152 (quoting United States v. Jackson, 155 F.R.D. 664, 668 (D. Kan. 1994)).

       Indeed, far from being specific, Request 6 is a quintessential fishing expedition. It is well

established that “[r]equesting entire files instead of specific documents indicates a fishing
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expedition.” Id. (quoting Jackson, 155 F.R.D. at 668). Although Request 6 carefully avoids use

of phrases such as “any and all” that courts have recognized as telltale signs of fishing

expeditions, see, e.g., United States v. Murray, 2019 WL 1993785, at *6 (D. Mass. May 16,

2019) (citing cases), in substance it requests “any and all” communications among eleven eBay

employees over nine months regarding seven topics—a set comprising hundreds of documents.

Indeed, this Court itself recognized that, at a minimum, the request should be “narrow[ed] … to

the time period of the alleged conspiracy,” Tr. of 10/1/21 Hr’g at 19:25—a period spanning

roughly a month, from August 5, 2019 through approximately September 6, 2019, see Dkt. 33

¶ 16, not the nine months Baugh seeks.

       The breadth of Request 6 is especially telling because Baugh has already received over

14,000 pages of records that eBay produced to the government—including parts of some of the

very conversations responsive to this request. See Dkt. 88 at 4; supra at 5. Baugh has more than

enough information to articulate more specific requests, and his failure to do so confirms that he

is merely “conjectur[ing] as to [the] contents” of the requested documents, which is insufficient

to carry his burden on specificity. United States v. Bradford, 806 F.3d 1151, 1155 (8th Cir. 2015)

(quoting Stevenson, 727 F.3d at 831).

       The documents collected and logged in connection with Request 6 underscore its

overbroad, general nature. As reflected in eBay’s privilege logs, documents responsive to

Request 6 include emails discussing press matters, deliberations within eBay’s Board, and

employment, compensation, and indemnification decisions. Pirozzolo Decl. Exs. 7, 9. Baugh

articulates no reason to think these documents contain relevant information, and there is none.

                                         CONCLUSION

       For the foregoing reasons, the Court should quash Requests 1, 2, 4, and 6 of the subpoena

issued to eBay, and Requests 1, 2, and 4 of the subpoena issued to Morgan Lewis.
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Dated: December 17, 2021              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2021, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.

                                                   /s/ Jack W. Pirozzolo
                                                   Jack. W. Pirozzolo




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